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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                           CRIMINAL FILE NO.
         v.                                1:14-CR-196-15-TWT
 BLANCA HERNANDEZ,
   Defendant.


                                     ORDER

      This is an habeas corpus action. It is before the Court on the Report and

Recommendation [Doc. 635] of the Magistrate Judge recommending denying the

Defendant’s Motion to Vacate Sentence [Doc. 605]. For the reasons set forth in the

thorough and well reasoned Report and Recommendation, any objection to the drug

quantity would have been futile. The Defendant’s due process claim could have been

raised on direct appeal and is procedurally defaulted. The Court approves and adopts

the Report and Recommendation as the judgment of the Court. The Defendant’s

Motion to Vacate Sentence [Doc. 605] is DENIED. No Certificate of Appealability

will be issued.
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            SO ORDERED, this 21 day of May, 2018.



                                      /s/Thomas W. Thrash
                                      THOMAS W. THRASH, JR.
                                      United States District Judge




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